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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND
        Chambers of                                                       101 West Lombard Street
GEORGE L. RUSSELL, III                                                    Baltimore, Maryland 21201
 United States District Judge                                                   410-962-4055

                                           May 16, 2022

MEMORANDUM TO COUNSEL RE:                             David Sydney, et al. v. Cedar Realty Trust,
                                                      Inc., et al.
                                                      Civil Action No. GLR-22-1142

Dear Counsel:

       Today the Court convened a teleconference to discuss Plaintiffs’ Motion for Expedited
Briefing Schedule and Hearing Date (“Motion for Expedited Schedule”) (ECF No. 9). This
memorandum memorializes the agreements reached during the call.

       Plaintiffs’ Motion for Expedited Schedule, which was filed on May 6, 2022, relates to the
pending Motions for Temporary Restraining Order and Preliminary Injunction (“Injunctive
Motions”) (ECF Nos. 8, 13). Because the proposed schedule contained in the Motion for Expedited
Schedule is no longer realistic, the Court will set in the following briefing and hearing schedule:

    •   May 25, 2022: Defendants’ opposition to the Injunctive Motions is due;
    •   June 3, 2022: Plaintiffs’ reply brief is due;
    •   June 10, 2022: Plaintiffs should file a proposed order in Microsoft Word format containing
        proposed findings of fact and conclusions of law; and
    •   June 22, 2022 1 at 10:00 a.m.: Hearing on the Injunctive Motions in Courtroom 7A.

       As discussed on today’s teleconference, the parties’ opposition and reply briefs should
contain sections on an appropriate security pursuant to Federal Rule of Civil Procedure 65(c), in
the event the Court elects to grant Plaintiffs the injunctive relief they seek.

         To accommodate the schedule set forth above, the parties have also agreed that they will
file a joint stipulation requiring Defendants to delay finalizing the Proposed Transactions until the
Court has resolved the Injunctive Motions. The parties have also agreed that they will jointly
stipulate that Defendants’ response to the Amended Complaint (ECF No. 4) will be due twenty-
one days after the date on which the Court resolves the Injunctive Motions.


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         The Court understands that Defendants have expressed some concern about their ability
to postpone the Proposed Transactions until this date. As of this moment, this hearing date is set.
In the event that Defendants cannot delay the Proposed Transactions long enough to ensure this
hearing date falls before the Proposed Transactions are finalized, Defendants should submit
correspondence to this Court explaining why an earlier date is absolutely necessary and what dates
they are available.
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        Also pending before the Court is Plaintiffs’ Motion to Expedite Discovery (ECF No. 7).
Inasmuch as Plaintiffs have already filed the Injunctive Motions, the Court finds that the Motion
to Expedite Discovery is moot. (See Mem. Law Supp. Pls.’ Mot. Expedited Discovery at 1
(“Plaintiffs seek limited and focused expedited discovery in anticipation of, and to facilitate, the
timely filing of a motion for an injunction.”), ECF No. 7).

        Accordingly, the Motion for Expedited Schedule (ECF No. 9) is GRANTED IN PART and
DENIED IN PART as set forth above. The Motion to Expedite Discovery (ECF No. 7) is DENIED
without prejudice as moot. The parties should FILE a joint stipulation containing the agreements
set forth above within seven days of this Order. The parties will convene in Courtroom 7A of this
courthouse on June 22, 2022 at 10:00 a.m. for a hearing on the Injunctive Motions.

       Despite the informal nature of this memorandum, it shall constitute an Order of the Court,
and the Clerk is directed to docket it accordingly.

                                              Very truly yours,


                                                        /s/
                                              George L. Russell, III
                                              United States District Judge




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